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     Hamira Chechi
 5

 6                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                         EASTERN DISTRICT OF CALIFORNIA
 8

 9

10   UNITED STATES OF AMERICA,     )               2:14-cr-00169-MCE-4
                                   )
11        PLAINTIFF,               )
                                   )               STIPULATION AND
12        v.                       )               ORDER VACATING
                                   )               THE CURENTLY SET
13   MOHAMMAD RIAZ KHAN, et al.,   )               STATUS CONFRENCE DATE OF
                                   )               APRIL 23, 2015 AS TO
14                                 )               DEFENDANT HAMIRA CHECHI ONLY
     DEFENDANTS.                   )               RESETTING THAT DATE TO
15                                 )               JUNE 18, 2015
     ______________________________)
16
                                   STATEMENT OF FACTS
17

18           By previous order, this matter was set for status on April 23,

19   2015.

20   2.      By   this   stipulation,    defendant       Hamira   Chechi   now   moves   to
21   continue the status conference set for her alone until June 18, 2015,
22
     and to exclude time between April 23, 2015 and June 18, 2015, under
23
     Local Code T4.
24
     3.      The parties agree and stipulate, and request that the Court find
25
     the following:
26
             a)    The   government     has   represented    that   the    discovery
27

28
             associated with this case includes business records from
     ______________________________________
     Stipulation To Continue Status
     Order
                                                 - 1 -
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 1         the California Employment Development, reports of witness

 2         interviews,       and   Grand   Jury     records.      In     addition,    the
 3
           related    case    includes     a    voluminous      amount     of    business
 4
           records and seized search warrant evidence that is relevant
 5
           to this case. Discovery has been either produced directly
 6
           to counsel or made available for inspection and copying. In
 7
           addition, most of the persons involved in this case either
 8
           as defendants or as potential witnesses are likely be in
 9

10         need the assistance of an interpreter in discussing there

11         items    with   counsel.   In   order    to    allow    the    attorneys    to

12         appropriately identify and interview witnesses, as well as

13         discuss the ramifications of different pieces of evidence
14
           as they may relate to the client’s particular case. This
15
           process     has     a    natural       tendency        to     limit     direct
16
           communication and requires extra care that the rights of
17
           such persons are scrupulously safeguarded while at the same
18
           time providing each lawyer with an opportunity adequately
19
           investigate the matter such witnesses may bring to the case
20

21         and through all of this careful process thread a careful

22         line    between    disclosure   to     help    the   client    and    possible

23         over reaching in the area where the witness himself could

24         has the possibility of making incriminating statements.
25
           b)      Counsel for defendant desires additional time review
26
           the discovery, discuss possible settlement of this case and
27
           conduct additional investigation.
28
     ______________________________________
     Stipulation To Continue Status
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                                                  - 2 -
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 1         c)      Counsel       for    defendant         Hamira        Chechi       believes           that

 2         failure to grant the above-requested continuance would deny
 3
           counsel       the     reasonable          time        necessary         for       effective
 4
           preparation,         taking       into      account      the       exercise         of        due
 5
           diligence.
 6
           d) The government does not object to the continuance.
 7
           e) Based on the above-stated findings, the ends of justice
 8
           served    by    continuing         the    case    as    requested          outweigh           the
 9

10         interest       of    the     public      and    the    defendant’s           in     a    trial

11         within    the       original      date    prescribed         by     the    Speedy        Trial

12         Act.

13         f) For the purpose of computing time under the Speedy Trial
14
           Act, 18 U.S.C. § 3161, et seq., within which trial must
15
           commence, the time period of April 23, 2015 to June 18,
16
           2015,     inclusive,         is     deemed       excludable            pursuant         to     18
17
           U.S.C.§    3161(h)(7)(A),             B(iv)     [Local       Code      T4]    because          it
18
           results       from     a     continuance         granted          by    the       Court        at
19
           defendants’         request    on     the      basis    of    the      Court’s      finding
20

21         that    the    ends     of    justice       served      by     taking        such       action

22         outweigh the best interest of the public and the defendant

23         in a speedy trial.

24   4.    Nothing in this stipulation and order shall preclude a finding
25
     that other provisions of the Speedy Trial Act dictate that additional
26
     time periods are excludable from the period within which a trial must
27
     commence.
28
     ______________________________________
     Stipulation To Continue Status
     Order
                                                          - 3 -
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 1

 2                               IT IS SO STIPULATED.
 3
     Dated: April 19, 2015                       BENJAMIN B. WAGNER
 4
                                                 United States Attorney

 5
                                                 /s/ JARED C. DOLAN_______
 6                                               JARED C. DOLAN
                                                 Assistant United States Attorney
 7
     Dated: April 19, 2014                       /s/ Michael Aye_______
 8                                               MICHAEL AYE
                                                 Counsel for Defendant
 9
                                                 HAMIRA CHECHI
10

11                                       ORDER

12
           IT IS SO ORDERED.
13
     Dated:   April 24, 2015
14

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     ______________________________________
     Stipulation To Continue Status
     Order
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